Case 2:10-cr-00176-RMP   ECF No. 202   filed 02/09/12   PageID.714 Page 1 of 6
Case 2:10-cr-00176-RMP   ECF No. 202   filed 02/09/12   PageID.715 Page 2 of 6
Case 2:10-cr-00176-RMP   ECF No. 202   filed 02/09/12   PageID.716 Page 3 of 6
Case 2:10-cr-00176-RMP   ECF No. 202   filed 02/09/12   PageID.717 Page 4 of 6
Case 2:10-cr-00176-RMP   ECF No. 202   filed 02/09/12   PageID.718 Page 5 of 6
Case 2:10-cr-00176-RMP   ECF No. 202   filed 02/09/12   PageID.719 Page 6 of 6
